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                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

NORFOLK/NEWPORT NEWS DIVISION
                                   Tuesday, April 10, 2018
MINUTES OF PROCEEDINGS IN              Open Court
PRESENT: THE HONORABLE RAYMOND A. JACKSON, U.S. DISTRICT JUDGE
Deputy Clerk: P. Thompson                                     Reporter: Janet Collins, OCR


 Set: 10:00 a.m.               Started: 9:55 a.m.                  Ended:   10:05 a.m.
                                       10:15 a.m.                           10:25 a.m.
                                        4:45 p.m.                            5:10 p.m.

 Case No.   4:17cr45                           (Voir Dire: 10:40 a.m. – 4:45 p.m.)
                                   United States of America
                                             v.
                        Joseph James Cain Benson, Mark Xavier Wallace,
                         Brian Lamar Brown, and Rosuan Romeo Kindell


  AUSA’s Howard Zlotnick and Lisa McKeel appeared on behalf of the Govt.
  Attorney Lawrence Woodward, c/a appeared with defendant Joseph James Cain
 Benson, in custody.
  Attorney Andrew Sacks, Ret. appeared with defendant Mark Xavier Wallace, in
 custody.
  Attorney Trey Kelleter, c/a appeared with defendant Bryan Lamar Brown, in
 custody.
  Attorney Jamison Rasberry, c/a appeared with defendant Rosuan Romeo
 Kindell, in custody.


 Matter came on for trial by jury (Day #1).
  Out of the presence of the jury, Court and counsel conducted pretrial
 conference.


  Out of the presence of the jury, Court conducted a Frye Inquiry of
 defendant re: plea offers.
 (Lunch Recess: 1:25 pm – 2:40 pm)                                   (continued on page 2)
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Petit jurors were sworn, examined on voir dire and from said panel came
a jury who were duly sworn (12 and 2 alternates).          Jurors not selected
excused subject to call.


Preliminary instructions read to the jury.


Court adjourned and jury excused to Wednesday, April 11, 2018 at 9:30am.
Defendants remanded to custody.
